Case 2:04-cr-20229-SH|\/| Document 107 Filed 06/01/05 Page 1 of 2 Page|D 146

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE$.;*
WESTERN DIVISION

 

 

UNITED STATES OF A.MERICA,

 

Plaintiff,
vs. CR. NO. 04¢20229-03-Ma

JAMAL IBRAHIM,

~__/~`_/\_/~__/\_¢~._/\__/~._/\_,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May 31, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Jamal Ibrahim, appearing in person and with
appointed counsel, Mr. T. Clifton Harviel, Jr.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, September 2, 2005
at 1:30 p.m.

The defendant may remain on his present bond pending
sentencing.

glyi day of May, 2005.

J¢W%ll:_

SAMUEL H. MAYS, JR.
TlWITED S'I‘ATES DISTRICT JUDGE

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Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

Mark Mesler

ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

Memphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Honorable Samuel Mays
US DISTRICT COURT

